                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:07CV530-1-MU



JOSE R. ALMONTE,                    )
                                    )
            Petitioner,             )
                                    )
            v.                      )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court upon Petitioner's Motion for Voluntary

Dismissal, filed June 3, 2008.

       Petitioner filed a pro se Motion to Vacate, Set Aside, or Correct Sentence on December

18, 2007. On March 10, 2008, the Government filed a Motion for Summary Judgment asking the

Court to dismiss Petitioner’s Motion to Vacate. Petitioner, through counsel, has now requested

that he be allowed to dismiss his Motion to Vacate without prejudice. The Government opposes

a dismissal without prejudice stating that no particular reason for the need for such a dismissal

has been given and notes that a response has already been provided by the Government. In

response, Petitioner states that the evidence he had hoped to procure to support his claims has not

materialized and therefore he wishes not to proceed at this time with his Motion to Vacate.




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       The Court is sympathetic to the Government’s position but feels that in the interest of

justice, Petitioner’s motion should be allowed without prejudice.

       THEREFORE, IT IS HEREBY ORDERED that:

       1. Petitioner’s Motion for Voluntary Dismissal (Doc. No. 14) is GRANTED; and

       2. Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (Doc. No. 1) is

DISMISSED without prejudice;

       3. Respondent’s Motion for Summary Judgment (Doc. No. 11) is DENIED as moot.



                                                Signed: June 10, 2008




                                             SEALED DOCUMENT with access to All Parties/Defendants




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